Case 8:04-cr-00235-DKC Document 1180 Filed 04/17/08 Page1of1

UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

ROGER W. TITUS 6500 CHERRYWOOD LANE

UNITED STATES DISTRICT JUDGE GREENBELT, MARYLAND = 20770
301-344-0052

MEMORANDUM

TO: Counsel
Lavon D. Dobie
FROM: Judge Roger W. Titus
RE: United States of America v. Lavon Dobie

Criminal No. RWT 04-0235

DATE: April 17, 2008

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The attached materials were received directly in chambers from the defendant, Lavon D.
Dobie on April 10, 2008. The documents were not accompanied by a proof of service. Rather than
to return them to Ms. Dobie for proof of service, the Clerk of the Court is DIRECTED that they be
docketed collectively as a Reply in Support of her Motion for Reduction of Sentence, and that a copy
be provided directly to the Office of the United States Attorney.

To the extent that these materials constitute a supplement to Ms. Dobie’s prior Motion for
Reduction of Sentence, it is DENIED for the same reasons stated in the Court’s Order entered on
April 8, 2008 [Paper No. 1179].

Despite the informal nature of this ruling, it shall constitute T othe Court, and the
Clerk is directed to docket it accordingly.

_ ROGER W-FHUS

UNITED STATES DISTRICT JUDGE
